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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
     Russell B. Toomey,                          )
 9                                               )        CV 19-0035-TUC-RM (LAB)
                   Plaintiff,                    )
10   v.                                          )
                                                 )        ORDER
11   State of Arizona; Arizona Board of Regents, )
     d/b/a University of Arizona, a governmental )
12   body of the State of Arizona; et al.,       )
                                                 )
13                 Defendants.                   )
     _____________________________________ )
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           Pending before the court is the plaintiff’s motion, filed on June 4, 2021, to compel
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     production of documents. (Doc. 202) The Office of the Governor Douglas A. Ducey filed a
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     response on June 18, 2021, which included a request for oral argument. (Doc. 208)
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           IT IS ORDERED that a hearing on the motion will be held on Wednesday, July 28, 2021,
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     at 11:00 a.m. at the Evo A. DeConcini United States Courthouse, Tucson, Arizona before
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     Magistrate Judge Leslie A. Bowman. If a party intends to appear telephonically, that party
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     should email chambers at bowman_chambers@azd.uscourts.gov one week prior to the hearing
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     to make arrangements.
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           DATED this 29th day of June, 2021.
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